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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,
                     Plaintiff,                                   4:11CR3087
       vs.
                                                     FINDINGS, RECOMMENDATION
GUY E. ALLEN, TERRELLE L. TYLER,                             AND ORDER
CHRISTOPHER MALLETT,
                     Defendants.


       This matter is before the court on defendant Guy E. Allen’s motion to dismiss, (Filing
No. 155), for violation of his statutory and constitutional right to a speedy trial. For the
reasons set forth below, the motion should be denied.


                                      BACKGROUND


       On August 24, 2011, Guy E. Allen was indicted for allegedly conspiring with “other
persons known and unknown” to distribute 280 grams or more of a mixture and substance
containing cocaine base. Allen initially appeared on September 1, 2011 and entered a plea of
not guilty. (Filing No. 12). Trial was set for November 7, 2011. (Filing No. 15). However,
Allen later moved to extend the time for filing pretrial motions, (Filing No. 20), and waived
his right to a speedy trial with regard to the requested additional time for filing pretrial
motions, (Filing No. 21). Allen also requested a change of plea hearing, but later continued
the hearing and eventually cancelled the hearing and requested a trial. (Filing No. 30). Trial
was set for February 27, 2012. (Filing No. 30).


       A superseding indictment (the “First Superseding Indictment”) was filed against
Allen on February 23, 2012. The First Superseding Indictment alleged Allen conspired with
Terrelle Tyler and Cedric Williams to distribute 280 grams or more of a substance containing
cocaine base, (Filing No. 36), from June 1, 2009 to February 19, 2012. Allen's initial
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appearance on the First Superseding Indictment was held on March 8, 2012, and he entered a
plea of not guilty. The jury trial was scheduled for May 14, 2012, (Filing No. 52).


       That same day, as a separate case, Christopher Mallett was indicted for conspiring to
distribute 280 grams or more of a substance containing cocaine base from June 1, 2009 to
February 19, 2012. (Case no. 4:12cr3023, Filing No. 1). Mallett initially appeared on March
23, 2012 and entered a plea of not guilty. Like Allen, Mallett’s trial was scheduled for May
14, 2012. (Case no. 4:12cr3023, Filing No. 12).


       On April 27, 2012, Allen moved to continue the May 14, 2012 trial date. (Filing No.
61), explaining:
       The Defendant has been named as a co-Defendant in the Superseding
       Indictment herein, thereby causing additional discovery documents to be
       served upon the Defendant's attorney. Defendant has requested that he be
       allowed additional time to review the allegations set forth in the investigative
       reports with his attorney. . . The Defendant waives his speedy trial rights with
       regard to this continuance.

(Filing No. 61). On May 2, 2012, Allen's motion was granted and the trial was rescheduled
for July 16, 2012. (Filing No. 63). The time between May 2, 2012 and July 16, 2012, was
expressly excluded from any computation of time under the Speedy Trial Act. (Filing No.
63). Likewise, Mallet’s trial was also continued until July 16, 2012.


       A second superseding indictment (the “Second Superseding Indictment”) was filed on
June 19, 2012. (Filing No. 74). The Second Superseding Indictment parroted the allegations
of the First Superseding Indictment but added Mallet as a named co-conspirator; that is, the
Second Superseding Indictment alleged Allen, Mallet, and Terrelle Tyler conspired to
distribute 280 grams or more of a substance containing cocaine base from June 1, 2009 to
February 19, 2012.1 (Filing No. 74). The initial appearances on the Second Superseding


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         Defendant Cedric Williams, who was named in the original and first superseding
indictments, had entered a plea of guilty before the Second Superseding Indictment was
filed. (Filing No. 72).

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Indictment were held on July 3, 2012. (Filing No. 79). Trial was set to commence on August
7, 2012. (Filing No. 79).


       On July 20, 2012, codefendant Tyler requested a change of plea hearing. (Filing No.
84). Tyler's change of plea hearing was held on July 26, 2012, after which the undersigned
magistrate judge recommended that Judge Kopf accept Tyler’s plea of guilty. (Filing No.
92). On August 22, 2012, Judge Kopf accepted Tyler's guilty plea and sentenced him to a
term of incarceration. (Filing No. 119).


       On July 31, 2012, Mallet filed a motion to sever his case from Allen’s. (Filing No.
101). On October 9, 2012 the undersigned denied Mallet’s motion and set trial as to Allen
and Mallet for November 5, 2012. (Filing No. 136) On October 25, Allen filed the motion
to dismiss which is currently at issue. (Filing No. 155).


                                     LEGAL ANALYIS


       Allen claims his statutory right and constitutional right to a speedy trial have been
violated.

       A.     Speedy Trial Act.

       The Speedy Trial Act provides:
       In any case in which a plea of not guilty is entered, the trial of a defendant
       charged in an information or indictment with the commission of an offense
       shall commence within seventy days from the filing date (and making public)
       of information or indictment, or from the date the defendant has appeared
       before a judicial officer of the court in which such a charge is pending,
       whichever date last occurs.

18 U.S.C. § 3161(c)(1). Time may be excluded from this calculation for specific periods of
delay provided for in 18 U.S.C. § 3161(h). Actions triggering these permissible exclusions
include “[a]ny period of delay resulting from other proceedings concerning the defendant”


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including delay from pretrial motions, and delay attributable to any period "during which any
proceeding concerning the defendant is actually under advisement by the court." 18 U.S.C. §
3161(h)(1).


       In addition, when a superseding indictment is filed to join defendants who were
previously separately indicted on essentially the same charges, the parties adopt the speedy
trial clock with the longest remaining time left. See United States v. Lightfoot, 483 F.3d 876
(8th Cir. 2007). When defendants whose speedy trial clocks have begun to run are joined for
trial, “the pertinent question is which defendant (or defendants) has the most speedy trial
time remaining.” Id. at 886. Where multiple defendants have been joined and the cases have
not been severed, exclusions attributable to one defendant apply to all of his or her
codefendants. See United States v. Arrellano-Garcia, 471 F.3d 897, 900 (8th Cir. 2006)(time
excluded as to one defendant is excluded as to the codefendant).


       Allen alleges this case must be dismissed under the Speedy Trial Act. The parties
have stipulated that for the purposes of the Speedy Trial Act:

       Allen’s speedy trial clock began on February 23, 2012, the date of the First
       Superseding Indictment; and

       As of the defendants' initial appearance on the Second Superseding Indictment, Allen
       had the most time remaining on the Speedy Trial clock, with 36 days accrued and 34
       days remaining.
       Thus, the speedy trial act question to be addressed is whether 34 days of excludable
time accrued between Allen's initial appearance on the Second Superseding Indictment and
the filing of his motion to dismiss.


       July 3, 2012 through July 16, 2012.


               Allen and his codefendants made their initial appearances on the Second
       Superseding Indictment on July 3, 2012. However, as part of the proceedings on the
       First Superseding Indictment, Allen had already requested a continuance of his trial

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      set for May 14, 2012, and as to the time between the motion to continue and July 16,
      2012 (the new trial date on the First Superseding Indictment), Allen had waived his
      right to a speedy trial. Therefore, as to the First Superseding Indictment, the time
      between May 2, 2012 and July 16, 2012 was expressly excluded from any Speedy
      Trial Act computation at Allen's request. (Filing No. 63).


             Allen argues that once the Second Superseding Indictment was filed, the First
      Superseding Indictment, and any waivers of time associated with it, were rendered
      void and have no impact on calculating the time accrued on the Second Superseding
      Indictment. Allen therefore argues the time beginning on July 4 (the day after his
      arraignment) and through July 16, though excluded on the First Superseding
      Indictment, must be counted against the clock on the Second Superseding Indictment.


             Allen is incorrect. If a superseding indictment does not affect the speedy trial
      timetable charged in the original indictment, a speedy trial waiver will extend to the
      new indictment. See United States v. Marshall, 935 F.2d 1298, 1302 (D.D.C. 1991).
      In Marshall a defendant waived his right to a speedy trial on his initial indictment.
      The government filed a superseding indictment amending one of the counts of the
      original indictment. Marshall moved to dismiss his case arguing his right to a speedy
      trial was violated. In so holding, the court found “[a]ssuming . . . that the original
      speedy trial period applies to the new charge . . . we see no reason why his waiver
      extending [the speedy trial period] should not likewise attach to the new charge.” Id.
      at 1302.


             Allen relies upon United States v. Van Someren, 118 F.3d 1214, 1219 (8th Cir.
      1997), wherein the court determined that a superseding indictment had the same
      effect as dismissing the previous indictment and filing a new indictment. The court
      determined that the time between the filing of the superseding indictment and the
      arraignment on the superseding indictment was, therefore, excludable.        But Van
      Someren case does not address the situation now before the court; that is, Van

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      Someren did not consider whether a defendant's waiver of time on a prior indictment
      remains waived after the filing of the superseding indictment alleging the same crime.


             In essence, Allen argues the Second Superseding Indictment is not sufficiently
      different from the First Superseding Indictment to initiate a new 70-day speedy trial
      clock, but the Second Superseding Indictment is sufficiently new so as to eliminate
      Allen’s previous waiver of his right to a speedy trial on essentially identical charges.
      He cannot have it both ways. If the speedy trial time period began to run with the
      First Superseding Indictment, the defendant's waiver of time on the First Superseding
      Indictment also applies to the Second Superseding Indictment alleging the same
      criminal activity. Marshall, 935 F.2d at 1302; see also United States v. Roman, 822
      F.2d 261, 265-66 (2d Cir. 1987) (noting exclusions granted under the first indictment
      apply to a superseding indictment where the speedy trial clock does not reset); United
      States v. Gonzales, 897 F.2d 1312, 1316 (5th Cir. 1990)(all speedy-trial exclusions
      apply as if no superseding indictment has been returned).


             Based on Allen's motion to continue the trial on the First Superseding
      Indictment, his waiver of the additional days caused by the continuance, and the
      court's associated exclusion of time, the time between July 4 and July 16, 2012 is
      excluded for Speedy Trial Act purposes.


      July 17 through July 19, 2012.


             No proceedings or motions were pending from July 17 through July 19, 2012.
      Three (3) days accrued during that time period, with 31 days remaining on the clock.


      July 20, 2012 through August 22, 2012.




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              On July 20, 2012, Terrelle Tyler, one of Allen’s codefendants, requested a
       change of plea hearing. Allen argues that the time between co-defendant Tyler’s
       request for a change of plea and the ultimate acceptance of that plea should not be
       excluded from the calculation of time under the Speedy Trial Act. He argues in
       essence, that because Tyler’s request to set a change of plea hearing was granted the
       same day he filed the motion, July 20, 2012, only that day should be excluded for
       Speedy Trial Act purposes.


              There are at least two problems with Allen’s argument. First, based on 18
       U.S.C. § 3161(h)(7) and to serve the “ends of justice," the order setting Tyler's change
       of plea hearing specifically excluded the time between July 20, 2012 and Tyler's
       anticipated plea of guilty. (Filing No. 84). No party objected to the exclusion of
       time. Moreover, the time between the day Tyler requested a plea hearing (July 20,
       2012) and Tyler's plea hearing (July 26, 2012) was properly excluded by operation of
       18 U.S.C. § 3161(h)(1), which excludes delays resulting from “proceedings
       concerning the defendant," and that time is excluded not only as to Tyler, but also as
       to his codefendants. U.S. v. Arrellano-Garcia, 471 F.3d 897, 900 (8th Cir. 2006).
       Tyler's plea proceedings remained pending until Tyler’s plea of guilty was accepted
       by Judge Kopf on August 22, 2012. 18 U.S.C.A. § 3161(h)(1)(H) (excluding "delay
       reasonably attributable to any period, not to exceed thirty days, during which any
       proceeding concerning the defendant is actually under advisement by the court").


              The time between July 20, 2012 and August 22, 2012 was excludable as to all
       of the defendants – including Allen.2 See Arrellano-Garcia, 471 F.3d at 900 (time
       excludable upon the entry of an order setting a change of plea hearing and the
       acceptance of the codefendant's plea was excludable as to the defendant); United



       2
        While Tyler’s change of plea was under consideration, codefendant Mallet filed a
motion to sever which was not resolved until October 9, 2012. Thus, even after Tyler’s plea
was accepted, Allen’s clock continued to be tolled.

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      States v. Patterson, 140 F.3d 767, 772 (8th Cir. 1998)(time excludable to one
      defendant applies to all codefendants).


      July 25, 26, 30, and 31, 2012.


             In addition to excluding the time due to Tyler's plea proceedings, the
      government filed a sealed motion on July 25, 2012, (Filing No. 86), which was
      granted that same day, (Filing No. 87); filed a motion for a pretrial conference on July
      26, 2012, (Filing No. 88), which was granted the same day, (Filing No. 94); and filed
      motions for writs on July 30, 2012, (Filing Nos. 96 and 97), which were granted on
      July 31, 2012. July 25, 26, 30, and 31 must there be excluded under the Act due to
      the filing and pendency of the government's pretrial motions.

      July 31, 2012 through October 9, 2012.


             On July 31, 2012, Christopher Mallet, another of Allen’s codefendants, moved
      to sever his case from the remaining codefendants which, in turn, stopped the speedy
      trial clock as to Allen. See Arrellano-Garcia, 471 F.3d at 900. Mallet’s motion was
      ruled on by the undersigned on October 9, 2012. Thus, the time between July 20,
      2012 (the date of Tyler’s request to set a change of plea) and October 9, 2012 (the
      date Mallet’s motion to sever was resolved) is likewise excludable for speedy trial
      purposes.


      October 10, 2012 through October 17, 2012.


             No proceedings or motions were pending from October 10, 2012 through
      October 17, 2012. Eight (8) days accrued during that time period, leaving 23 days
      remaining on the clock.


      October 18, 2012.

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                 On October 18, 2012 the government filed motions for writs of habeas corpus,
       which were granted the same date. (Filing Nos. 141-50). These motions stopped the
       clock on the 18th.

       October 19, 2012 through October 24, 2012.


                 No proceedings or motions were pending from October 19, 2012 through
       October 24, 2012. Six (6) days accrued during that time period, leaving 17 days
       remaining on the clock.


       October 25, 2012 through the present.


                 Allen filed his motion to dismiss now before the court on October 25, 2012.
       The motion was fully submitted on November 16, 2012 and remains pending. No
       time has accrued since October 25, 2012.


       Based on the foregoing calculations, 53 days have accrued on Allen’s speedy trial
clock. Even if the court assumes the time from July 4 through July 16 is not excluded
because Allen's waiver as to the First Superseding Indictment does not extend to the Second
Superseding Indictment, only 66 days have elapsed. The defendant's rights under the Speedy
Trial Act have not been violated.


       B.        Constitutional Speedy Trial Claim


       Allen has brought a separate claim that his constitutional right to a speedy trial has
been violated.


       Sixth Amendment challenges are reviewed separately from the Speedy Trial
       Act. United States v. Thirion, 813 F.2d 146, 154 (8th Cir.1987). But this court


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       has stated, “It would be unusual to find the Sixth Amendment has been
       violated when the Speedy Trial Act has not.” United States v. Titlbach, 339
       F.3d 692, 699 (8th Cir.2003). The Sixth Amendment guarantees: “In all
       criminal prosecutions, the accused shall enjoy the right to a speedy ... trial....”
       U.S. Const. amend. VI. The Sixth Amendment right “attaches at the time of
       arrest or indictment, whichever comes first, and continues until the trial
       commences.” United States v. Perez–Perez, 337 F.3d 990, 995 (8th Cir.2003).
       The Supreme Court has identified four relevant inquiries in a claim involving
       the Sixth Amendment right to a speedy trial: (1) whether delay before trial was
       uncommonly long; (2) whether the government or the criminal defendant is
       more to blame for the delay; (3) whether, in due course, the defendant asserted
       his right to a speedy trial; and (4) whether he suffered prejudice as a result of
       the delay. Doggett v. United States, 505 U.S. 647, 651, 112 S.Ct. 2686, 120
       L.Ed.2d 520 (1992). To trigger speedy trial analysis, the defendant must allege
       the interval between accusation and trial has crossed a line “dividing ordinary
       from ‘presumptively prejudicial’ delay.” Id. at 651–52, 112 S.Ct. 2686
       (quoting Barker v. Wingo, 407 U.S. 514, 530, 92 S.Ct. 2182, 33 L.Ed.2d 101
       (1972)).

United States v. Aldaco, 477 F.3d 1008, 1018-19 (8th Cir. 2007).


       1.     Uncommonly Long Delay


       To trigger a speedy trial analysis the defendant must first make a showing that the
delay is presumptively prejudicial. If such a showing is made, “the court must then consider,
as one factor among several, the extent to which the delay stretches beyond the bare
minimum needed to trigger judicial examination of the claim.” Doggett v. United States, 505
U.S. 647, 651 (1991).


       Allen made his initial appearance on the federal indictment on August 24, 2011.
Although the Eighth Circuit has not drawn a bright line in determining how long of a delay is
considered “presumptively prejudicial,” in certain cases it has determined that delays of over
a year may meet the presumptively prejudicial threshold. See Tiltbach, 339 F.3d at 699.
Thus, the fourteen-month delay experienced in this case is presumptively prejudicial.

       2.     Responsibility for Delay

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       In determining which party is more to blame for the delay, the court will consider the
extent to which the government diligently sought prosecution. “A deliberate attempt to delay
the trial in order to hamper the defense should be weighed heavily against the government.”
Doggett, 505 U.S. at 652. Conversely, delay caused by the defendant or his counsel weighs
against the defendant. Vermont v. Brillon, -- U.S. --, 129 S.Ct. 1283, 1290-91 (2009).


       There is no evidence the government has been less than diligent in prosecuting this
case. However, much of the delay can be attributable to Allen. Allen was considering
changing his plea and on October 26, 2011, requested a change of plea hearing. The court
set the hearing and excluded the time between the request and the anticipated plea of guilty
for speedy trial purposes. On December 14, 2011, Allen requested a continuance of the
change of plea hearing. The hearing was continued until December 22, 2012. At the
December 22, 2012 hearing, Allen requested the court set the matter for trial. Trial was set
for February 27, 2012 and the time between December 22, 2012 and February 27, 2012 was
excluded. Allen did not object to that order.


       On January 11, 2012, the Federal Public Defender representing Allen filed a motion
to withdraw due to a conflict. The motion was granted that same day. Allen’s current
counsel entered an appearance on January 17, 2012, and moved to continue the trial on
January 26, 2012. Allen agreed to waive his speedy trial rights with respect to the delay
caused by the motion. (Filing No. 34). The motion was granted, the new trial was set for
March 26, 2012, and the time between the order and the new trial date was excluded for
speedy trial purposes. The First Superseding Indictment was filed on February 23, 2012. On
April 27, 2012, Allen again moved to continue his trial and waived his speedy trial rights. A
corresponding order was entered excluding the time between April 24, 2012 and July 16,
2012 – the new anticipated date of trial.


       In short, much of the delay experienced in this case was due to motions filed by Allen
and/or his counsel. In apparent recognition of this fact, Allen waived his speedy trial rights

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for several months at a time and only attempted to assert his rights one time – on October 25,
2012. There is no evidence that the government has promoted delay to gain any sort of
tactical advantage or to deliberately hamper Allen’s defense.             To the contrary, the
government requested and served writs in preparation for trial in March, July, and October,
but trial continuances were granted each time due to new case developments and newly filed
motions. Accordingly, the second factor weighs heavily against Allen.


         3.     Assertion of Right


         Under the third Barker factor, the defendant must establish that he properly asserted
his right to a speedy trial. In this case, this factor is not particularly helpful to Allen. While
it is true Allen eventually asserted his right to a speedy trial, he also expressly waived his
right to a speedy trial on multiple occasions on the earlier indictments alleging similar
counts. Thus, while Allen has met this requirement, it does not weigh heavily, if at all, in his
favor.


         4.     Prejudice


         The final Barker factor – prejudice – is intended to (1) protect against pretrial
incarceration, (2) minimize anxiety and concern of the accused, and (3) limit the possibility
that the defense will be impaired. Barker, 407 U.S. at 532.      The burden is on the defendant
to demonstrate actual and substantial prejudice. See, e.g., United States v. Brockman, 183
F.3d 891, 895 (8th Cir. 1999). Allen argues that trial delay caused prejudice to his case
because a witness Allen intended to call for impeachment purposes died on September 22,
2012. But a missing or unavailable witness who would provide impeachment testimony is
generally not viewed as sufficient “to establish the prejudice to [the defendant’s] defense
required by Barker.” Smith v. Mabry, 564 F.2d 249, 253 (8th Cir. 1977) (holding a missing
witness must be one who could provide “material evidence for the defense”).




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       Further, Allen has not made a showing that the anticipated impeachment testimony of
the deceased witness is unavailable through another source. Brockman, 183 F.3d at 895.
Simply put, Allen has not met his burden to show he was sufficiently prejudiced by the delay
to implicate his constitutional right to a speedy trial.


       IT THEREFORE HEREBY IS RECOMMENDED to the Honorable Richard G.
Kopf, United States District Judge, pursuant to 28 U.S.C. § 636(b), that the motion to dismiss
filed by Guy E. Allen, (filing no. 155), be denied in all respects.


       The parties are notified that failing to file an objection to this recommendation as
provided in the local rules of this court may be held to be a waiver of any right to appeal the
court's adoption of the recommendation.


       IT IS FURTHER ORDERED, the trial of this case is set to commence before the
Honorable Richard G. Kopf at 9:00 a.m. on December 18, 2012, or as soon thereafter as the
case may be called, for a duration of nine (9) trial days, in Courtroom 1, United States
Courthouse, Lincoln, Nebraska. Jury selection will be held at commencement of trial.


       Dated this 3rd day of December, 2012.

                                                      BY THE COURT:
                                                      s/ Cheryl R. Zwart
                                                      United States Magistrate Judge




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